
648 S.E.2d 208 (2007)
DIGGS
v.
NOVANT HEALTH, et al.
No. 299P06.
Supreme Court of North Carolina.
June 27, 2007.
Roberta B. King, Joshua H. Bennett, Winston-Salem, for Forsyth Medical Center.
Harold L. Kennedy, III, Harvey L. Kennedy, Annie Brown Kennedy, Winston-Salem, for Mary Diggs.
Linwood Jones, Raleigh, for N.C. Hospital Association.
Harvey L. Cosper, Jr., William B. Cannon, Charlotte, for NCADA.
James R. Morgan, Jr., Winston-Salem, Ronald W. Burris, Albemarle, for NC Chapter of Am. Society.
The following order has been entered on the motion filed on the 22nd day of September 2006 by Defendant (Forsyth Memorial Hosp.) to Amend the Record on Appeal and Memorandum of Law in Support Thereof:
"Motion Denied by order of the Court in conference this the 27th day of June 2007."
